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                      EXHIBIT K
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                                                                                                      Decision Notification



06/24/2022

PIERSON VALLES                                                                               TAA Personal Identification Number (PIN):
5705 SOUTHERN HILLS DR                                                                                                      PJIIQI65
FLOWER MOUND, TX 75022 US



Dear PIERSON VALLES:

Your request for accommodations and/or English learner (EL) supports has been reviewed. This notification is your record of the
decisions that were made. Please work with the test coordinator at your school to resolve any questions you may have, or if
applicable, to submit a request for reconsideration.

Accommodations/EL Supports NOT Approved

The following accommodations and/or EL supports are NOT approved.
  Preferential Seating
  One and one-half time

Reason Accommodations/EL Supports are Not Approved

ACT was unable to approve the requested accommodations and/or EL supports for the following reason(s):

  The requested accommodation is not approved because:

             A diagnosis of any impairment, though required, does not in and of itself automatically mean that you have a "disability"
             under the ADA or that you qualify for accommodations under the ADA. While a diagnosis may be a source of discomfort
             or stress, a person who has an impairment, even one that constitutes a "disability" under the ADA, may not necessarily
             require accommodation the ACT.
             Without compelling evidence that you are unable to access items on a standardized test in a quiet, controlled
             environment, test accommodations will not be authorized.

  The requested accommodation is not approved because:

             Test accommodations are provided to ensure that people who would normally be unable to take the ACT under standard
             conditions can test in a way that does not compromise the validity of the test or provide an unfair advantage.
             The purpose of accommodations is not to optimize test scores, guarantee that all items on the test are completed,
             facilitate a positive/optimal outcome, guarantee that you score at a level commensurate with your IQ, or to accommodate
             a personal test taking style/preference that may be slow, careful, deliberate, and perfectionistic.
             Without compelling evidence that you are unable to access the test in a quiet, controlled environment, test
             accommodations on the ACT are not authorized.

  The requested accommodation is not approved because:

             Under the Americans with Disabilities Act (ADA) as amended in 2008, a diagnosis of a physical or mental impairment it is
             not equivalent to a disability determination.
             The ADA requires evidence that the diagnosis substantially limits a major life activity such as performing manual tasks,
             caring for oneself, walking, seeing, hearing, speaking, breathing, thinking, concentrating, or learning.
             From the documentation provided, ACT could not clearly identify the major life activity impacted by your diagnosis.

  Note: Standardized testing is not considered to be a major life activity under the ADA.

Please see the Submitting Documentation for Reconsideration section below if you wish to appeal the decision.
If you paid for Special Testing when you registered, and are not approved for accommodations, you are not automatically
registered to test at a national testing center without accommodations. Please contact ACT Customer Care at 319.337.1270 to ensure
you have a standard seat on your preferred test date.
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                                                                                                         Decision Notification

Introduction

After ACT reviews a request, an examinee-specific Decision Notification is created in the online Test Accessibility and Accommodations
(TAA) system. The notification contains the:
     examinee's name
     examinee's TAA personal identification number (PIN)
     accommodations and EL supports approved (including any special authorizations), or not approved, if applicable
     reason accommodations or EL supports are not approved, if applicable

When a Decision Notification is available to view online, an email is sent to the test coordinator or a test accommodations coordinator
at your school.

The Personal Identification Number (PIN)

As a security precaution, the TAA system requires you to provide a unique personal identification number (PIN) and first and last name
to access your information. Protecting each examinee's privacy and keeping personal information confidential is important to ACT.
Requiring this number, as well as first and last names, allows ACT staff to maintain privacy. Store the TAA PIN in a safe place, yet on
hand to use when contacting ACT.

Submitting Documentation for Reconsideration

If you submit additional documentation to support the request, ACT will reconsider the request. Reconsideration requests received
after the late registration deadline will be reviewed for future test dates only if the request is associated with a future test date.

Additional documentation cannot be submitted while the request is in review. Please work with your school to submit additional
documentation only after you receive your decision notification.

Another email is sent to the test coordinator or test accommodations coordinator at your school when ACT reconsideration is
complete and an updated Decision Notification is available.

Note: Accommodation/EL supports requests (including reconsideration) received after the late registration deadline will not be
available in time for the scheduled test event. In such cases, only the accommodations and EL supports previously approved by ACT,
if any, may be provided. All registration fees and deadlines apply.


Using the Same Accommodations or EL Supports for Future Administrations

You may use previously approved accommodations and EL supports on The ACT® to streamline a request for the same
accommodations or supports for a future test administration. Work with your school to update your TAA request with the new test
administration.

If you have previously approved accommodations and wish to test on a National test date without accommodations and EL supports,
you must contact ACT Accommodations at 319.337.1332, by the late registration deadline. They will work with you to find a seat at a
national testing center. Please be aware that registration deadlines do apply, and your preferred testing center may not be available.

Note: Standby registration is standard administration only, no accommodations or EL supports will be provided. Registration deadlines
and fees apply.

Contacting Us

If you have questions and are testing through State and District testing, you may:
     Call us at 800.553.6244, ext. 1788
     Email us at ACTStateAccoms@act.org
If you have questions and are testing through National or Special testing, you may:
     Call us at 319.337.1332
     Email us at ACTAccom@act.org

Important! ACT customer service agents require the TAA PIN, examinee first name, and examinee last name to access request
information.
